Case 2:21-cv-02120-SM-MBN Document 36-3 Filed 03/29/23 Page 1 of 3

United States District Court 1
Eastecn District of Louisiana

 

Magn Rect Cal Ahan
versus A 2-202.
Coctell Davis.etal Secon “E “(5)
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Beith In Support of Mahi

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Statement of the Case

his is a 1983 action flat by a State prisonec velabng
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at the Loctowrche Harish Correctional Camp! seeking dancages based
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Conference, Acuistana Distact Rules,

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Argument

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longer time. Rule 34 Fed RCiu P The dleferdarts, howevea, have not vespand-
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! of Ametican v. Rausten, 83 ERD. 6b% 670-73. (CDCl
(998); Demany v Yornaha Met Corp, 15 ERD 20,22.(D Mis. If)
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Claim of privedje. Fonville v. District of Columbia Sn ERD. 38,2-43
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Conclusion

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